

Matter of Amrany (2023 NY Slip Op 00916)





Matter of Amrany


2023 NY Slip Op 00916


Decided on February 16, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 16, 2023

PM-29-23
[*1]In the Matter of Adi Amrany, an Attorney. (Attorney Registration No. 4107009.)

Calendar Date:February 14, 2023

Before:Clark, J.P., Aarons, Pritzker, Reynolds Fitzgerald and Fisher, JJ.

Adi Amrany, Arlington, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Adi Amrany was admitted to practice by this Court in 2003 and now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Amrany's application.
Upon reading Amrany's affidavit sworn to January 17, 2023 and filed January 23, 2023 and upon reading the February 6, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Amrany is eligible to resign for nondisciplinary reasons, we grant the application and accept Amrany's resignation.
Clark, J.P. Aarons, Pritzker, Reynolds Fitzgerald and Fisher, JJ., concur.
ORDERED that Adi Amrany's application for permission to resign is granted and Amrany's nondisciplinary resignation is accepted; and it is further
ORDERED that Adi Amrany's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Adi Amrany is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Amrany is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Adi Amrany shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








